      Case 8:03-cr-00447-JSM-TGW Document 188 Filed 02/28/08 Page 1 of 6 PageID 679
A 0 245B (Rev. 06/05)Sheet 1-Judgment in a Criminal Case


                               UNITED STATES DISTRICT COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DIVISION



UNITED STATES OF AMERICA                                          THIRD AMENDED JUDGMENT IN A CRIMINAL CASE

                                                                  CASE NUMBER: 8:03-cr447-T-30MSS
                                                                  USM NUMBER: 41624-018



ANTHONY CONTEGIACOMO
                                                                  Defendant's Attorney: James T. Skuthan, pda.

THE DEFENDANT:

-
X pleaded guilty to count(s) One of the Indictment.
   pleaded nolo contendere to count@)which was accepted by the court.
- was found guilty on count($ after a plea of not guilty.

TITLE & SECTION                         NATUREOFOFFENSE                                    OFFENSE ENDED              COUNT

21 U.S.C. 9846                          Conspiracy to Possess with Intent to Distribute    October 29, 2003           One
                                        50 Grams or More of Cocainc Base


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.                                                                                            I

- The defendant has been found not guilty on count(s)
- Count(s) @)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shalI notify the United States Attorney for this district within 30days of any change
                                                                                                                 judgment are fully paid.
of name, residence, or mailing address until all fines, restitution, costs, and special assessmentsimposed by th~s
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.
                                                                                                                                      I
                                                                                   Date of Imposition of Original Sentence: June 25, 2004
                                                                                                                                      I




                                                                                                       m&
                                                                                   DATE: February 2 , 2 0 0 8
                                                                                                                                  3
      Case 8:03-cr-00447-JSM-TGW Document 188 Filed 02/28/08 Page 2 of 6 PageID 680

A 0 245B (Rev. 06/05) Sheet 2 - Imprisonment
Defendant:          ANTHONY CONTEGIACOMO                                                          Judgment - P a g e 2 of 6
Case No. :          8:03-cr-447-T-30MSS

                                                             IMPRISONMENT

          The defendant's sentence has been reduced pursuant to Amendment 706 and 711 and U.S.S.G. § 1B1.10.

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of FIFTY-SEVEN (57) MONTHS as to Count One of the Indictment.

        As stipulated to by the parties, the Court imposes a ten-day delay for the Bureau of Prisons in the effective date
of any resentence that results in the defendant's immediate release.



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed in a correctional
institution located in Florida. The defendant shall be participate in the 500 hour intensive drug treatment program while
incarcerated.


-
X The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
          -at -a.m.1p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          -as notified by the United States Marshal.
          -as notitied by the Probation or Pretrial Services Office.



                                                                   RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                 to                                           at

                                                                       , with a certified copy of this judgment.



                                                                                        United States Marshal

                                                                       By:

                                                                       Deputy Marshal
       Case 8:03-cr-00447-JSM-TGW Document 188 Filed 02/28/08 Page 3 of 6 PageID 681
A 0 245B (Rev. 06/05)Sheet 3 - Supervised Release

Defendant:           ANTHONY CONTEGIACOMO                                                               Judgment - Page 3 of 6
Case No. :           8:03-cr47-T-30MSS
                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Count One of the Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.


            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the permission of the court or probation otlicer;

            the defendant shall report to the probation ofticcr and shall submit a truthful and complete written report within the first five days of each
            month;

            the defendant shall answer truthfully all inquiries by the probation officer and follow the iristructions oS the probation officer;

            the defendant shall support his or her dependents and meet other family responsibilitic~;

            the defendant shall work regularly at a lawful occupation, unless excused by thc probation ofticcr for schooling, training, or other
            acceptable reasons;

            the defendant shall noti@ the probation officer at least ten days prior to any changc in residence or employment;

            the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

            the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;

            the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;

            the defendant shall notify the probation ofticer within seventy-two hours of being arrested or qucstioncd by a law enforcement officer;

            the defendant shall not enter into any agrcemcnt to act as an infonner or a special agent of a law enforcement agency without the
            permission of thc court;

            as directed by the probation ofticer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
            or personal history or characteristics and shall pcnnit the probation officer to make such notifications and to confirm the defendant's
            compliance with such notification requirement.
      Case 8:03-cr-00447-JSM-TGW Document 188 Filed 02/28/08 Page 4 of 6 PageID 682
A 0 245B (Rev. 12103) Sheet 3C - Supervised Release

Defendant:           ANTHONY CONTEGIACOMO                                                     Judgment - Page 4 of 6
Case No. :           8:03-cr47-T-30MSS
                                             SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          The defendant shall participate, as directed by the Probation Officer. in a program (outpatient and/or inpatient) for treatment
           of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
           abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
           amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.


-
X          The mandatory drug testing provisionsshall apply pursuant to the Violent Crime Control Act. The defendant shall refrain
           from any unlawful use of a controlled substance. The defendant shall submit toone drug test within 15 days of placement
           on probation and at least two periodic drug tests thereafter as directed by the probation officer.
      Case 8:03-cr-00447-JSM-TGW Document 188 Filed 02/28/08 Page 5 of 6 PageID 683
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

 Defendant:          ANTHONY CONTEGIACOMO                                                       Judgment - Page 5 of 6
 Case No.:           8:03-cr-447-T-30MSS

                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            -
                                                                      Fine                      Total Restitution

          Totals:                                                     Waived


-         The determination of restitution is deferred until            .      An Amended Judgment in a Cnininal Case ( A 0 245C) will
          be entered after such determination.
 -         The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order o! ercenta e payment column below. However. pursuant to 18 U.S.C. $
           3664(i). all nonfederal vlctirns must be palabefore h e Umted States.
                                                                                                                Priority Order or
                                                       *Total                     Amount of                     Percentage of
 Name of Pavee                                       Amount of Loss            Restitution Ordered              Payment




                                Totals:              L                         L

 -         Restitution amount ordered pursuant to plea agreement $
 -         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment. pursuant to 18 U.S.C. 5 36 12(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U. S.C. Ej 36 12(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine          - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 110A, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23. 1996.
     Case 8:03-cr-00447-JSM-TGW Document 188 Filed 02/28/08 Page 6 of 6 PageID 684
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        ANTHONY CONTEGIACOMO                                                      Judgment - Page 6of 6
Case No. :        8:03-cr-447-T-30MSS


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                    , or
                            -in accordance -C, - D, - E or - F below: or
                  Payment to begin immediately (may be combined with -C , -D, or -F below): or
                  Payment in equal                  (e.g., weekly. monthly, quarterly) installments of $             over a
                  period of          (e .g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                  (e.g., weekly. monthly, quarterly) installments of $               over a
                  period of
                               , (e .g ., months or years) .to commence                    (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                          (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a                                                 of criminal
monetary penalties is due during im risonment. All criminal monetary penalties.                                        made through the
                                        b
Federal Bureau of Prisons' Inmate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost($:
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                                                                                                     i: d'
or portions thereof, subject to forfeiture, which are in the possession or control of t e efendant or the defendant's
nominees.



Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) community restitution. (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
